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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Civil Action No. 20-cv-00204-NYW

TODD UBEL, individually and on behalf of all others similarly situated,

       Plaintiff,

v.

PROGRESSIVE DIRECT INSURANCE COMPANY,
J.D. POWER, and
MITCHELL INTERNATIONAL, INC.,

       Defendants.

     ORDER SETTING SCHEDULING/PLANNING CONFERENCE AND SETTING
         DEADLINE FOR FILING OF CONSENT/NONCONSENT FORM

Magistrate Judge Nina Y. Wang

      This case has been directly assigned to Magistrate Judge Nina Y. Wang pursuant to
D.C.COLO.LCivR 40.1(c).

       IT IS ORDERED:

       1. The court shall hold a Fed. R. Civ. P. 16(b) scheduling and planning conference on:

                                 March 16, 2020 at 9:30 a.m.

in Courtroom A-502, 5th Floor, Alfred A. Arraj United States Courthouse, 901 19th Street,
Denver, Colorado. Please remember that anyone seeking entry into the Alfred A. Arraj United
States Courthouse will be required to show valid photo identification. See D.C.COLO.LCivR
83.2(b).

        2. A copy of the instructions for the preparation of a scheduling order and a form of
scheduling order can be downloaded from the court’s website at www.cod.uscourts.gov. The
parties or their counsel shall submit their proposed scheduling order, pursuant to District of
Colorado Electronic Case Filing (“ECF”) Procedures V.6.0, including a copy of the proposed
scheduling order in a Word format sent via email to Wang_Chambers@cod.uscourts.gov, on or
before seven days prior to the Scheduling Conference:

                                        March 9, 2020
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      3. The parties shall complete and file the Consent/Nonconsent Form indicating either
unanimous consent of the parties or that consent has been declined, on or before:

                                       March 2, 2020

        4. The parties shall hold a pre-scheduling conference meeting and prepare a proposed
Scheduling Order in accordance with Fed. R. Civ. P. 26(f) and D.C.COLO.LCivR 16.1 and
26.1(a) on or before:

                           21 days prior to scheduling conference

Pursuant to Fed. R. Civ. P. 26(d), no discovery will be deemed served until at least the pre-
scheduling conference meeting contemplated by Fed. R. Civ. P. 26(f).

        5. The parties shall comply with the mandatory disclosure requirements of Fed. R. Civ.
P. 26(a)(1) on or before:

                   14 days after the pre-scheduling conference meeting.


DATED: February 14, 2020                          BY THE COURT:


                                                  _________________________
                                                  Nina Y. Wang
                                                  United States Magistrate Judge
